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                    FoR THE   Nonrnpnu Dlstntct or Ir,r,rNors
                                Easrpnx DtvtstoN

Ar.nouo McDowott,

            Plaintiff,                          No. 13 C 3375

                   v.                           Judge Thomas M. Durkin

Reuov Prlsren, in his official capacity;
MARcus Hanov; Sar,venonn A. Goo[vsz;
Dn. LouIs Srucxpn; er.ro Tannv
Wttl,lAttts,

             Defendants.


                         MnuonaNouu OprNroN    AND   Ononn

      Antonio McDoweII is an inmate in the custody of the Illinois Department of

Corrections ('IDOC") at Stateville Correctional Center   in Illinois. He alleges that
IDOC staff were deliberately indifferent to his dental needs in violation of the

Eighth Amendment. R. 26. Specifica1ly, McDowell has sued Stateville's former

Warden, Marcus.Hardy; Stateville's former Warden, Tarry Williams; former IDOC

Director, Salvadore Godinez; and former IDOC Medical Director, Dr. Louis Shicker,

and alleges that they are responsible for the IDOC's policy against performing root

canals on posterior teeth (i.e., molars). See id. Defendants have moved for summary

judgment.R.72. For the following reasons, Defendants'motion is granted.

                                 Legal Standard

      Summary jud.gment      is appropriate "if the movant shows that there is    no

genuine dispute as to any material fact and the movant is entitled to judgment as a
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matter of law." Fed. R. Civ. P. 56(a);   see   also Celotex Corp. u. Catrett, 477 U.S. 317,

322-23 (1986). The Court considers the entire evidentiary record and must view all

of the evidence and draw all reasonable inferences from that evidence in the light

most favorable to the nonmovant. Ball u. Kotter,723 F.3d 813, 821 (7th Cir. 2013).

To defeat summary judgment, a nonmovant must produce more than "a mere

scintilla of evidence" and come forward with "specific facts showing that there is       a

genuine issue for trial." Harris N.A. u. Hershey,711 F.3d 794, 798 (7th Cir. 2013).

Ultimately, summary judgment is warranted only             if a reasonable jury could not
return a verdict for the nonmovant. An"derson u. Liberty Lobby, Inc., 477 U.5.242,

248 (1e86).

                                    Background

      ln   20L2, McDowell experienced pain and decay          in two of his molars (*H   13

and 14). He filed grievances seeking a dental examination and sent a letter to

Warden Hardy in March 20t2. See R. 26-l at l-2. He was examined by Dr. Kenneth

Brooks, D.D.S., on September 12 and 26, 2012, and provided with pain management

treatment. R. 82 tl   16.

      McDowell continued to experience tooth pain and decay. He submitted a

grievance on October 1,20L2, see R. 26-l at 3, and sent a letter to Warden Hardy on

October 7, 20L2, see id. at 4, but he does not know whether Warden Hardy received

the letter. R. 82 fl 23. McDoweII submitted. a d.ental treatment request on November

L,2012.Id.1124.




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        McDoweII was seen by a dentist on November 20, 2012, who recommended

extraction of tooth #14, which McDowell refused. Id. tTfl 25-26. McDowell saw Dr.

Brooks again on March 8, 2013, who also recommended that tooth #14 be extracted,

which McDowell again refused because he wanted a root canal instead. /d.         tT 30.

        Extraction of tooth #13 was also recommended at dental visits on JuIy         17,

20L3, and August          2, 2013. Id. fltT 31-32. McDowell eventually consented to
extraction of tooth #13 on September 20, 20L3. Id. n 36. McDowell testified that the

extraction relieved his pain. R.74-2 at 28 (103:17-19).

        At    some point thereafter, McDoweII again began experiencing pain   in tooth
#14. On July 9, 20L4, he had an appointment with a dentist who recommended

extraction of tooth #14 even though        it   was "asymptomatic." R. 82   lTtT 38-39.

McDowell refused extraction. Id. n 40.

        On August 7, 20t4, an IDOC grievance officer filed a report regarding

McDowell's grievance seeking a root canal rather than extraction of tooth #14. R.

8L-3. The grievance officer denied McDowell's grievance because "root canals are

performed on the front teeth and canine teeth only per IDOC policy. .Id. (emphasis

added). Warden Williams signed. this report.Id..Dr.Brooks also testified. that   it   was

against IDOC policy to perform root canals on molars. R. 81-4 at 6 (19:18-20:1, 17-

22);   LG   (60:11-r4); 17 (65:8-11).
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                                           Analysis

I.     Personal Involvement

       McDowell seeks damages         in   compensation "for the pain arising from the

intentional unavailabfuty of appropriate medical treatment," i.e., a root canal. R.26

at 7. 'A plaintiff bringing a civil rights action must prove that the           defendant

personally participated      in or caused the unconstitutional actions."   Grieueson    u.


Anderson, 538 F.3d 763, 776 (7th Cir. 2008) (quoting Alejo u. Heller, 328 F.3d 930,

936 (7th Cir. 2003)). A plaintiffs allegations against a prison official can only satisfu

"the personal responsibility requirement of Section 1983      if the conduct   causing the

constitutional deprivation occurs at [the official's] direction or with his knowledge

and consent." Arnett u. Webster, 658 F.3d 742, 757 (7th Cir. 2011). "That is, [the

official] must know about the conduct and facilitate it, approve it, condone it, or

turn a blind   eye."   Id. "In short, some causal connection or affirmative link between

the action complained about and the official sued is necessary for $ 1983 recovery."

-Id. Thus, although a prison official is "entitled to relegate to the prison's medical

staff the provision of good medical cate," Burhs u. Raernisch, 555 F.3d 592, 595 (7th

Cir. 2009), "nonmedical officials can be chargeable with . . . deliberate indifference

where they have a reason to believe (or actual knowledge) that prison doctors or

their assistants are mistreating (or not treating) a prisoner." Arnett, 658 F.3d at
755.

       McDowell has not presented any evidence that Director Godinez                or Dr.
Shicker were personally involved           in his treatment. With respect to      Director
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Godinez, McDoweII argues only that he "is expected to know and understand the

policies and procedures of the IDOC because he is the ultimate decision maker

when   it comes   to the grievance process." R. 79 at 9. Similarly, McDowell argues that

Dr. Shicker "effectively endorsed the policy by failing to permit the treating dentist

to consider whether even an endodontic examination was appropriate." Id. To the

extent Director Godinez and Dr. Shicker were, or should have been, aware of a

policy against performing root canals on molars, there is no evidence that they had

any knowledge of this policy's application to McDoweII. Both of them are IDOC

officials and do not work at Stateville. Since there is no evidence supporting an

inference that Director Godinez or Dr. Shicker had any personal involvement in

McDowellls treatment, they must be dismissed from the case.

       McDowell argues that there is evidence of personal involvement on the part

of Warden Hardy and Warden Williams in the grievance process. Mere receipt of

grievances from a prisoner is insufficient to establish that a prison warden was

personally involved     in any deficient   medical care provided to the prisoner.   See

Owens u. Hinsley, 635 F.3d 950, 953 (7th Cir. 2011) ('[T]he alleged mishandling of

Owens's grievances by persons who otherwise did not cause or participate         in the
underlying conduct states no claim.");     see   also George u. Smith,507 F.3d 605, 609

(7th Cir. 2007) ("Ruling against a prisoner on an administrative complaint does not

cause or contribute to the violation."); Neely u. Rand,le, 2013 WL 3321451,       at *3
(N.D. IIl. June 29, 20LB)   ('If there is 'no personal involvement by the warden [in an
inmate's medical care] outside the grievance process,' that is insufficient to state a
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claim against the warden." (quoting Geuas u. Mitchell, 492 Fed. App'x 654, 660 (7th

Cir.2Ol2))). However, written notice to prison administrators may form the basis of

a   deliberate indifference claim,      if the plaintiff can "demonstrate that     the

communication, in its content and manner of transmission, gave the prison official

sufficient notice to alert him or her to an excessive risk to inmate health or safety."

Arnett,658 F.3d at 755.

       There   is no evidence that Warden Hardy actually         reviewed McDowell's

guievances. But even   if he did,   those grievances were submitted prior to McDowell

receiving any extraction diagnosis. The record shows that McDowell was first

advised to have tooth #14 extracted on November 20, 20L2, whereas the grievances

and letters Warden Hardy purportedly reviewed were submitted          in March 20L2.
There is no evidence that Warden Hardy was ever aware that McDoweII sought a

root canal. Consequently, Warden Hardy cannot have had personal involvement in

the decision to deny McDowellls request. Thus, McDowell's claims against Warden

Hardy must be dismissed.

       By contrast, Warden Williams signed the grievance officer's report stating

that an IDOC poii.y existed prohibiting a root canal on McDowell's molars. This is

sufficient evidence for a jury to find that Warden Williams knew that McDowell was

unable to receive a root canal due to IDOC policy.    It is also reasonable to draw the
inference that Warden Williams had the authority to authorize exceptions to that

policy or seek its revision. Warden Williams's signature on the grievance officer's




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report is sufficient evidence to demonstrate a material question of fact regarding his

involvement in McDowell's treatment.

II.     Deliberate Indifference

        Both McDowell's remaining personal capacity claim against               Warden

Williams, and McDowell's official capacity claim (which can only be brought against

the current warden of the facility where he is incarcerated),l contend that a policy

against providing root canals for molars violates the Eighth Amendment. "Prison

officials violate the Eighth Amendment's proscription against cruel and unusual

punishment when they display deliberate indifference to serious medical needs of

prisoners." Hayes u. Snyder, 546 F.3d 516, 522 (7th Cir. 2008). To establish           a

deliberate indifference claim under this standard, a plaintiff must show (1) that the

plaintiff suffered an objectively serious risk of harm, and (2) that the defendant

acted   with a subjectively culpable state of mind in acting or failing to act in
d.isregard of that risk. .Boe u. Elyea,631 F.3d 843, 857 (7th Cir. 2011). Nevertheless,


I State officials acting in their official capacities are immune to claims for damages
under Section 1983. See Hafer u. Melo,502 U.S. 2L, 27 (1991) ("State offrcers sued
for damages in their official capacity are not 'persons' for purposes of the suit
because they assume the identity of the government that employs them.")
(emphasis added). The only relief available to McDowell against Defendants in their
official capacities is injunctive relief. See Will u. Michigan Dep't of State Police, 491
U.S. 58, 7L n. 10 (1989) ("Of course a state official in his or her official capacity,
when sued for injunctive relief, would be a person under S 1983 because official-
capacity actions for prospective relief are not treated as actions against the State.").
McDowell seeks such relief in the form of an exam by an endodontist. See R. 26 at 6-
7. A suit seeking this type of relief is best directed against the warden who has
custody of McDowell and who "would be responsible for ensuring that any injunctive
relief is carried out." See Gonzalez u. Feinerman,663 F.3d 311, 315 (7th Cir. 2011).
Stateville's current warden is Randy Pfister. Thus, the Clerk of Court is directed to
add Randy Pfister in his offi.cial capacity as a defendant. See id. ("we substitute
[the] current warden . . . as defendant").
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the "Constitution is not a medical code that mandates specific medical treatment."

Jachson u. Kotter,541 F.3d 688, 697 (7th Cir. 2008). And "evidence that another

doctor would have followed a different course of treatment is insufficient to sustain

a deliberate indifference claim." Burtoru u. Downey, 805 F.3d 776, 786 (7th Cir.
2015). Rather, "medical professionals     .    are entitled to deference   in treatment
decisions unless no minimally competent med.ical professional would have              so

responded under the circumstances at issue." McGee u. Adams,721 F.3d 474, 48L

(7th Cir. 2013) (emphasis added). In other words, "[w]hen a medical professional

acts   in his   professional capacity, he may be held   to have displayed deliberate
indifference only   if the decision by the professional is such a substantial departure
from accepted professional judgment, practice, or standards, as to demonstrate that

the person responsible actually did not base the decision on such a judgment." .Id.

        The Court sympathizes with McDoweII's argument that "extraction of a body

part is an extreme remedy," R. 79 at 5, which might be thought to serve as an

objective   limit on the deference the Court must give to the treatment decisions of
medical professionals. Unfortunately for McDowell, however, the Seventh Circuit

has already spoken on policies like the one at issue here, and held that they do not

violate the Eighth Amendment. See Mathews u. Raemisch, 5L3 Fed. App'x 605, 607

(7th Cir. 2013) ('The district court correctly found that the prison is offering [the

plaintiff-inmate] an extraction procedure and that this dispute is over nothing but

the choice of one routine medical procedure versus another. That is not enough to

prove an Eighth Amendment claim of deliberate indifference."); see also McGowan
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u. Hulich,612 F.3d 636, 641 (7th Cir. 2010) ('[The   plaintiffs] complaint focuses only

on [the defendant's] decision to extract the tooth rather than to filt   it . . . . []n   the

end, this dispute is over nothing but the choice of one routine medical procedure

versus another, and that is not enough to state an Eighth Amendment claim."). And

other district courts have reached the same conclusion. See Powell u. Marlais, 2016

WL   5462443,   at *13 (N.D. Cal. Sept.29,20LB) ("In determining whether [the
defendant] provided unconstitutional medical care when he proposed extracting

tooth 23 and refused to authorize root canal treatment, the dispositive question is

whether the proposed treatment was medically unacceptable, and not whether

there were alternative acceptable medical treatments available."); Ciaprazi                 u.


Jacobson,2016    WL    46L9267,   at *4   (S.D.N.Y. Sept. 6,2016) ("But even        if    [the

plaintiffs] teeth could have been treated with root-canal therapy,          it   would not

violate the Eighth Amendment for [the New York State Department of Corrections]

to offer him only extraction. As noted by [the expert witness], many states and
Iocalities have policies of offering extraction and not root canals. And many of those

policies-a number of which are even more restrictive than New York's-have been

held to satisfu the Eighth Amendment.") (citing cases). McDowell fails to address

the Seventh Circuit case law on this issue, but its reasoning is binding on this

Court. Therefore, Defendants are entitled to summary judgment.




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                                  Conclusion

      For the foregoing reasons, Defendants' motion for summary judgment, R. 72,

is granted.

                                                 ENTERED:

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                                                 -t*,rr*
                                                 Honorable Thomas M. Durkin
                                                 United States District Judge
Dated: January 23,2017




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